Case 2:05-cv-02395-BBD-dkv Document 3 Filed 08/11/05 Page 1 of 4 Page|D 1

IN THE: UNITE:D sTATEs DISTRICT coURT F"'ED BY@_ D.c.
FOR THE wEsTERN DISTRICT oF TENNESSEE

 

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TERESKA DAVIS, § GER<USJWH§¥HRRT
Plaintiff, x " #i:MiB
vs. § No. 05-2395-D/v
UNIVERSITY 0F TENNESSEE §
HEALTH scIENcE cENTER, x
Defendant. §

 

ORDER GRANTING LEAVE TO PROCEED _I_N FOR.MA PAUPERIS
ORDER DENYING APPOINTMEN'I' OF COUNSEL
AND
ORDER 'I'O ISSUE AND EFFECT SERVICE OF PROCESS

 

Plaintiff Tereska Davis filed a p;g §§ complaint pursuant to
Title VII of the Civil Rights Act of 1964_. 42 U.S.C. § 2000€ §
§§g&, on May 27, 2005, along with a motion seeking leave to proceed
in fg;ma pauperis. Based on the information set forth in the
plaintiff's affidavit, the motion to proceed in fg;ma pauperis is
GRANTED. The Clerk shall record the defendant as the University of
Tennessee Health Science Center.

The plaintiff has filed a nmtion seeking appointment of
counsel. Two statutes authorize the district court to request or
appoint counsel for an indigent Title VII plaintiff. Twenty-eight
U.S.C. § 1915(d) provides that the “court may request an attorney
to represent any such person unable to employ counsel.”1

Similarly, under 42 U.S.C. § 2000e-5(f)(1), “upon application by

 

1 However, “§ 1915 (d) does not authorize the federal courts to make
coercive appointments of counsel” to represent indigent civil litigants. Mallard
V. United States Dist. Court, 490 U. S. 296 310 (1989).

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Case 2:05-cv-02395-BBD-dkv Document 3 Filed 08/11/05 Page 2 of 4 Page|D 2

the complainant and in such circumstances as the court may deem
just, the court may appoint an attorney.” However, “[t]here is no
constitutional or . .. statutory right to counsel in federal civil
cases.” Farmer v. Haas, 990 F.2d 319, 323 (7th Cir. 1993).
Generally, a court will only appoint counsel in exceptional

circumstances. Willett v. Wells, 469 F. Supp. 748, 751 (E.D. Tenn.

 

1977). Although “no comprehensive definition of exceptional
circumstances is practical,” Branch v. Cole, 686 F.2d 264, 266 (Sth
Cir. 1982), courts resolve this issue through. a fact-specific
inquiry. Wilborn v. Escalderon, 789 F.2d 1328, 1331 (9th Cir.
1986). Examining the pleadings and documents in the file, the
Court analyzes the merits of the claims, the complexity of the
case, the p;g §§ litigant's prior efforts to retain counsel, and
her ability' to present the claims. Henrv' v. Citv of Detroit
Manpower Dep't, 763 F.2d 757, 760 (6th Cir. 1985); Wiggins v.
Sargent, 753 F.2d 663, 668 (Bth Cir. 1985).

As a general rule, counsel should be appointed in civil cases
only if a litigant has made “a threshold showing of some likelihood
of merit.” Cooper v. A. Sargenti Co., 877 F.2d 170, 174 (2d Cir.
1989).2 At this stage of the proceedings, before the Court has had
the opportunity to assess the strength of plaintiff's case, the
Court is unable to conclude that plaintiff has satisfied that

standard. Moreover, a review of this complaint indicates that the

 

2 The Second Circuit elaborated: “Courts do not perfonn a useful
service if they appoint a volunteer lawyer to a case which a private lawyer would
not take if it were brought to his or her attention. Nor do courts perform a
socially justified function when they request the services of a volunteer lawyer
for a meritless case that no lawyer would take were the plaintiff not indigent.”
Id.

Case 2:05-cv-02395-BBD-dkv Document 3 Filed 08/11/05 Page 3 of 4 Page|D 3

case is not so complex that the Court should exercise its
discretion to appoint counsel at this time. Furthermore, it does
not appear from the affidavit supporting plaintiff's motion that
she will be unable to obtain counsel on her own. The motion for
appointment of counsel is DENIED.

It is ORDERED that the Clerk shall issue process for the
defendant University of Tennessee Health Science Center and deliver
said process to the marshal for service. Service shall be made on
the defendant pursuant to Fed. R. Civ. P. 4(h)(1). Service on the
defendant shall include a copy of this order. All costs of service
shall be advanced by the United States.

lt is ORDERED that the plaintiff shall serve a copy of every
further document filed in this cause on the attorney for the
defendant or on the defendant if it has no attorney. The plaintiff
shall make a certificate of service on every document filed. The
plaintiff shall familiarize herself with the Federal Rules of Civil
Procedure and this Court’s local rules.

The plaintiff shall promptly notify the Clerk of any change of
address or whereabouts. Failure to comply with these requirements,
or any other order of the Court, may result in this case being
dismissed without further notice.

IT Is so oRDERED this .‘7/ day of July, 20

         

I E B. ONALD
ITED STATES DISTRICT JUDGE

 

 

ISTRICT COURT - WESTENR DISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02395 Was distributed by faX, mail, or direct printing on
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Tereska Davis
1775 Nelson Avenue
i\/lemphis7 TN 38114

Honorable Bernice Donald
US DISTRICT COURT

